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7                             UNITED STATES DISTRICT COURT
8                            SOUTHERN DISTRICT OF CALIFORNIA
9    AMY WAYNE,                                           Case No.: 20-CV-175-CAB-LL
10                                       Plaintiff,
                                                          ORDER
11   v.
12   ZEETOGROUP LLC et al.,
13                                    Defendants.
14
15         Upon consideration of Plaintiff’s response to the Court’s order to show cause [Doc.
16   No. 6], it is hereby ORDERED that if neither a response to the complaint by Defendants
17   nor a request for entry of default by Plaintiff (in the absence of a response to the complaint)
18   is filed by June 8, 2020, this case will be DISMISSED WITHOUT PREJUDICE for
19   failure to prosecute.
20         It is SO ORDERED.
21   Dated: May 12, 2020
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